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        Exhibit "6"
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From:               Schottlaender, Hayden (DAL)
To:                 Kerry Culpepper
Cc:                 Schwartz, Julie (SEA); Roche, John K. (WDC)
Subject:            RE: Reddit / Bodyguard Productions, Inc. v. RCN Telecom Services of Massachusetts, LLC, et al., No. 3:21-cv-
                    15310 (D.N.J.)
Date:               Wednesday, March 1, 2023 10:20:11 AM


Mr. Culpepper:
We do not take your accusations lightly. We have again reviewed the DNJ docket and see a January
26, 2023, docket entry instructing that “discovery relevant to all claims and defenses shall
commence.” We therefore disagree that any portion of our brief is false and decline your invitation
to revise the brief.
As for your settlement offer, Reddit respectfully declines.
Hayden
Hayden Schottlaender | Perkins Coie LLP
COUNSEL
500 N. Akard Street Suite 3300
Dallas, TX 75201
D. +1.214.965.7724
F. +1.214.965.7774
E. HSchottlaender@perkinscoie.com




From: Kerry Culpepper <kculpepper@culpepperip.com>
Sent: Wednesday, March 1, 2023 11:46 AM
To: Schottlaender, Hayden (DAL) <HSchottlaender@perkinscoie.com>
Cc: Schwartz, Julie (SEA) <JSchwartz@perkinscoie.com>; Roche, John K. (WDC)
<JRoche@perkinscoie.com>
Subject: RE: Reddit / Bodyguard Productions, Inc. v. RCN Telecom Services of Massachusetts, LLC, et
al., No. 3:21-cv-15310 (D.N.J.)

Dear Ms. Schwartz and Mr. Schottlaender,

I did a first pass through your opposition yesterday.

Your accusation that I served a subpoena on Reddit before the opening of discovery is grossly
negligent and outrageous. Any cursory examination of the pacer docket would have shown that
discovery was originally going to open at 12/20/2023 but was extended to 1/6/2023 after the parties
attempted to settle the matter. I have attached the 12/6/ 2022 text order to this point and the
email extending the date. If you had extended the professional courtesy of contacting me to inquire
about this question before making this inflammatory and false argument, I would have gladly
informed you of this point and provided you these attached documents that support my position.
Note that RCN was noticed of the subpoena so it would have objected if it was filed before discovery
opened. Yet you chose to jump on this falsity as a transparent attempt to libel a small minority
owned firm as a Federal Rules scofflaw in a case that has been widely published in the media
without doing even a cursory investigation to back of this argument. Undoubtedly, your firm’s false
argument will be reported in media and my firm’s reputation will be damaged.   I extend Reddit the
opportunity to file an amended opposition by the end of today (5 PM Pacific Time) that deletes that
argument and all references to it, explicitly notes that it was completely false, and extends an
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apology to Plaintiffs’ counsel and the Court for accusing Plaintiffs’ counsel of blatantly violating the
rules. Please confirm by 5 PM today whether you intend to do so.

Further, regarding
u/SquattingCroat,
u/aromaticbotanist,
u/ilikepie96mng,
u/Griffdog21
since Reddit has their IP address logs on hand, I propose that Reddit use public records such as
Maxmind to see if any of the IP addresses these parties used to login for past 3 years (or whatever
amount are retained) are from Astound Group (RCN, Wave, Grande, Starpower). If they are not,
then I would drop request for those names.

I maintain that u/compypaq, u/matt3324 and u/ChikaraFan are relevant.

Sincerely,
/ksc/
Kerry S. Culpepper


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Suite B204
Kailua-Kona, Hawaii 96740
Tel 1-808-464-4047

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